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                                         MINUTES



   CASE NUMBER:             CV 14-00455SOM-KSC
   CASE NAME:               Toatuga M. Saofaigaalii, et al. vs. USA
   ATTYS FOR PLA:           David J. Minkin
   ATTYS FOR DEFT:          Michael F. Albanese
   INTERPRETER:


         JUDGE:       Kevin S. C. Chang              REPORTER:         No Record

         DATE:        03/05/2018                     TIME:             9:14 - 9:22


  COURT ACTION: EP: Status Conference re: Dismissal - (AMENDED)

  Mr. Albanese informed the Court that payment was made on 2/12/18, however the entire
  amount was redirected to treasury offset due to a federal debt.

  Parties to continue to work on this case and try to identify the nature of the debt, etc.

  Judge Mollway may administratively close this case.
  When the parties obtain additional information re: the nature and extent of the debt,
  parties to contact Toni Fujinaga at 541-1297 to schedule a status conference, and the
  case can be reopened.

  Submitted by: Toni Fujinaga, Courtroom Manager.
